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                      UNITED STATES DISTRICT COURT

                               DISTRICT OF MAINE


 UNITED STATES OF AMERICA,                  )
                                            )
                                            )
 V.                                         )     CRIMINAL NO. 2:15-CR-10-DBH
                                            )
 CHRISTIAN DENT,                            )
                                            )
                          DEFENDANT         )


      ORDER ON DEFENDANT’S ORAL REQUEST FOR FRANKS HEARING


       To obtain a Franks hearing, “the defendant must make ‘a substantial

preliminary showing’ that: (1) the warrant affidavit contains a false statement

made ‘knowingly and intentionally, or with reckless disregard for the truth,’ and

(2) that ‘the allegedly false statement is necessary to the finding of probable

cause.’” United States v. Hicks, 575 F.3d 130, 138 (1st Cir. 2009) (citations

omitted) (quoting Franks v. Delaware, 438 U.S. 154, 155-56 (1978)).               “An

omission of material fact is sufficient to trigger a hearing.” United States v. Silva,

742 F.3d 1, 8 (1st Cir. 2014).

       The premise of the defendant’s oral request for a Franks hearing in this

case is that Agent Gagnon’s Affidavit and Request to the state judge who issued

the warrant on November 12, 2014, “lack specificity and detail” and that he

“either deliberately or recklessly omitted material information.” Def.’s Mem. in

Support of Request for Franks Hr’g at 2 (ECF No. 105) (quoting United States v.

Tanguay, 787 F.3d 44, 48 (1st Cir. 2015)).
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      After review of the defendant’s and the government’s memoranda, I DENY

the request for a Franks hearing. I will provide further explanation after I hear

oral argument and when I make a ruling on the defendant’s pending motion to

suppress.

      SO ORDERED.

      DATED THIS 29TH DAY OF OCTOBER, 2015

                                           /S/D. BROCK HORNBY
                                           D. BROCK HORNBY
                                           UNITED STATES DISTRICT JUDGE




                                                                                2
